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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION


 STATE OF MISSOURI ET AL                              CASE NO. 3:22-CV-01213 LEAD

 VERSUS                                               JUDGE TERRY A. DOUGHTY

 JOSEPH R BIDEN JR ET AL                              MAG. JUDGE KAYLA D. MCCLUSKY


                                             ORDER
        Considering Plaintiffs’ Motion for an Extension to file their Reply (R. Doc. 395),

        It is ORDERED that the Motion is GRANTED. Plaintiffs’ Reply Memorandum is now

 due October 29, 2024.

        MONROE, LOUISIANA, this 15th day of October, 2024.




                                                                 Terry A. Doughty
                                                            United States District Judge
